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                           Susman Godfrey l.l.p.
                                 a registered limited liability partnership




January 13, 2025

VIA ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007

       RE:     Authors Guild v. OpenAI Inc., (No. 1:23-cv-08292-SHS)
               Alter v. OpenAI Inc., (No. 1:23-cv-10211-SHS)

Dear Judge Wang:

        Pursuant to Rule II(b) of Your Honor’s Individual Practices, Plaintiffs seek a conference
regarding OpenAI’s failure to produce source code and other information related to OpenAI’s
downloading, use, and modification of the text repositories that train the large language models
(“LLMs”) powering ChatGPT. OpenAI objects to providing the requested source code and
information as not responsive to Plaintiffs’ Requests for Production (“RFPs”). OpenAI is wrong
and must produce the requested source code and related information for three reasons: (1) because
the source code and related information are directly responsive to many of Plaintiffs’ RFPs, (2)
because the source code and related information are relevant, and (3) because the source code and
related information are proportional to the needs of the case.

       Background. On August 15, OpenAI said it would provide source code that was at a
minimum responsive to Plaintiffs’ RFP No. 79. Ex. 1 at 14. It took OpenAI more than three months
to make its source code available for inspection. OpenAI finally provided some source code in late
November, and Plaintiffs inspected the source code in December. Shortly after Plaintiffs’ source
code inspection, Plaintiffs promptly identified numerous omissions in the source code and asked
OpenAI to provide additional source code and related information, including:

       A. Source code related to books datasets known as LibGen, Books1, Books2, and other
          datasets that Plaintiffs have a good faith basis to believe contain books, including the
          code that downloaded these datasets, discovered the lists of books to download,
          scraped the webpages, and filtered and processed the data.
       B. Source code related to GPTBot, including how it makes web requests, discovers pages
          to crawl, and processes the downloaded data.
       C. Model architecture code for GPT-3, GPT-4, and GPT-4o that clearly defines all training
          layers and functions.
       D. Model training code that iteratively optimizes the model parameters, including code
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           that feeds training data into the model and optimizes functions used to train the model.
       E. Model hosting and inference code, including code that processes user prompts, calls
           the model, and returns a response.
       F. Content moderation code, including code that detects whether a response should be
           returned to a ChatGPT user.
       G. Scripts that include the terms “book,” “books,” “copyright,” or “license”.
       H. Training datasets present and referenced in the source code that have not been
           produced.
       I. Documents referenced in the source code that relate to the source and copyrightability
           of training data.

        Despite several emails from Plaintiffs, OpenAI failed to confirm that it would produce the
requested source code and related information. On the parties’ January 9 meet and confer, OpenAI
objected to the responsiveness of the source code and related information. Plaintiffs disagreed,
cited 14 RFPs to which the requested information is responsive, and asked OpenAI to confirm that
it would provide the requested information. On January 10, in an abundance of caution, Plaintiffs
served additional RFPs seeking the source code. Because OpenAI has not confirmed that it will
provide the additional source code and related information, the parties are at impasse.

        The source code and related information are responsive. OpenAI objects to providing the
requested source code because this information is allegedly not responsive to Plaintiffs’ RFPs.
OpenAI’s argument is unfounded. As Plaintiffs explained to OpenAI on the parties’ meet and
confer, there are at least 14 RFPs that cover the requested source code and information, including:

         x   RFP No. 17, which seeks documents 1 sufficient to determine any manner that
             OpenAI’s LLMs have referenced or accessed works of fiction and non-fiction. Ex. 2 at
             7. At least source code requests A, G, and H are responsive to RFP No. 17.
         x   RFP No. 18, which seeks documents sufficient to identify the electronically stored
             information through which OpenAI accessed commercial works of fiction and non-
             fiction to train ChatGPT. Id. At least source code requests A, G, and H are responsive
             to RFP No. 18.
         x   RFP No. 31, which seeks documents sufficient to determine the source material for
             Books1 and/or Books2. Id. at 9. At least source code request A is responsive to RFP
             No. 31.
         x   RFP No. 39, which seeks documents related to OpenAI’s curation of data and the types
             of data OpenAI uses to train its LLMs, including any differences in the ways that
             OpenAI’s LLMs ingest, process, or output data and the decision to include or exclude
             certain training data. Ex. 3 at 8. At least source code requests A, C, D, E, G, H, and I


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  As defined in Plaintiffs’ RFPs, “documents” means “all materials within the scope of Federal Rule of Civil Procedure
34,” which includes electronically stored information, data, and data compilations. Ex. ___; see also Fed. R. Civ. P.
34(a)(1). Rule 34 is broad and encompasses source code. See, e.g., Columbia Pictures, Inc. v. Bunnell, 245 F.R.D.
443, 447 (C.D. Cal. 2007) (“Rule 34(a)(1) is intended to be broad enough to cover all current types of computer-based
information, and flexible enough to encompass future changes and developments.”) (citation omitted).



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           are responsive to RFP No. 39.
       x RFP No. 41, which seeks documents related to OpenAI’s modification of any
           parameters for tuning or limiting OpenAI’s LLMs’ outputs to avoid copyright
           infringement. Id. At least source code requests D, E, F, and I are responsive to RFP No.
           41.
       x RFP No. 55, which seeks documents related to OpenAI’s use of text repositories
           including LibraryGenesis, CommonCrawl, and Internet Archives to train OpenAI’s
           LLMs. Id. at 11. At least source code requests A, B, C, G, and H are responsive to RFP
           No. 55.
       x RFP No. 60, which seeks documents describing the way that OpenAI’s LLMs use
           training data. Id. at 12. At least requests C and G are responsive to RFP No. 60.
       x RFP No. 61, which seeks documents sufficient to show all audiobooks OpenAI
           transcribed. Id. At least source code requests A is responsive to RFP No. 61.
       x RFP No. 65, which seeks documents related to OpenAI’s use of web crawler
           permissions in an effort to comply with copyright law. Id. At least source code request
           B is responsive to RFP No. 65.

        The source code and related information are relevant. Plaintiffs allege that OpenAI
downloaded repositories of pirated text and knowingly used these repositories to train ChatGPT
and the LLMs that underly ChatGPT. See, e.g., First Am. Compl. ¶¶ 115-116, 169. Source code
and information showing which datasets OpenAI downloaded, how OpenAI scraped the Internet
for these datasets, how OpenAI downloaded these datasets, how OpenAI used these datasets during
training, how OpenAI finetuned its models, and how OpenAI modified (or did not modify) its
models to avoid outputting copyrighted information is all highly relevant to Plaintiffs’ claims.

        The source code and related information are proportional to the needs of the case. The
requested source code is proportional because the benefits of the source code to Plaintiffs outweigh
any purported burden to OpenAI. See Fed. R. Civ. P. 26(b). Plaintiffs need additional source code
and information to identify the books datasets that OpenAI uses in training and to understand how
OpenAI uses these datasets, and neither the training data nor the source code OpenAI has provided
thus far provide this critical information. OpenAI has not explained why the requested source code
is not proportional to the needs of the case, has made no demonstration regarding the burden of
compiling and producing it, and, in any event, the burden of providing this information is minimal
because OpenAI is likely to provide much of this source code in its other cases.

        Because the requested source code is responsive, relevant, and proportional to the needs of
the case, OpenAI must provide the requested source code and related information described above.

                                              Sincerely,

LIEFF CABRASER HEIMANN              SUSMAN GODFREY LLP              COWAN, DEBAETS,
& BERNSTEIN LLP                                                     ABRAHAMS & SHEPPARD
                                                                    LLP

/s/ Rachel Geman                    /s/ Rohit Nath                  /s/ Scott J. Sholder
Rachel Geman                        Rohit Nath                      Scott J. Sholder


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